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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF WYOMING

  AMERICAN PETROLEUM                             )
  INSTITUTE,                                     )
                                                 )
         Petitioner,                             )
  v.                                             )
                                                 )
  UNITED STATES DEPARTMENT OF                    ) Case No. 19-cv-121-SWS
  THE INTERIOR, et al.,                          )
                                                 )
         Respondents.                            )

                               NOTICE OF APPEAL

       Notice is hereby given that the American Petroleum Institute, Petitioner in

the above named case, hereby appeals pursuant to Fed. R. App. P. 3(a)(1) to the

United States Court of Appeals for the Tenth Circuit from the part of the order and

final judgment entered in this action on the 8th day of September, 2021, ECF Nos.

98 and 99, upholding the federal oil valuation provisions and federal gas valuation

provisions of the Office of Natural Resources Revenue 2016 Valuation Rule, 81

Fed. Reg. 43,338 (July 1, 2016).

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      Dated this 3rd day of November, 2021.

                                      Respectfully submitted,

                                      /s/ Keith S. Burron
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                     CERTIFICATE OF SERVICE

      I hereby certify that on this 3rd day of November, 2021, the foregoing

Notice of Appeal was served by filing a copy of the document with the Court’s

CM/ECF system, which will send notice of electronic filing to counsel of record.

                                                 /s/ Keith S. Burron
                                                 Keith S. Burron
